Case: 1:10-cv-05500 Document #: 104 Filed: 02/21/12 Page 1 of 6 PagelD #:570

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BEARING BROKERS, INC., )
)
Plaintiff, ) 10 C 5500
)
v. )
) Judge Manning
GADDIS, INC., ) Magistrate Judge Cole
and JOHN DOES 1-10, )
)
Defendants. )

ORDER FINALLY APPROVING THE SETTLEMENT

On September 14, 2011, this Court entered an order granting preliminary approval (the
“Preliminary Approval Order”) of the settlement between Plaintiff, on its own behalf and on
behalf of the Settlement Class (as defined below), and Defendant, as memorialized in the
Settlement Agreement (the “Agreement”.

On February 14, 2012, the Court held a fairness hearing (the “Fairness Hearing”), for
which members of the Settlement Class had been given appropriate notice and were invited,
including those with any objections. An opportunity to be heard was given to all persons
requesting to be heard in accordance with the Preliminary Approval Order. Having considered
the Parties’ Agreement, Plaintiff's Memorandum in Support of Final Approval of the Class
Action Settlement and all other evidence submitted,

IT IS HEREBY ORDERED THAT:

lL, This Court has jurisdiction over Plaintiff, Defendant, members of the Settlement
Class, and the claims asserted in the Lawsuit.

as The Settlement Agreement was entered into in good faith following arm’s length

negotiations and is non-collusive.
Case: 1:10-cv-05500 Document #: 104 Filed: 02/21/12 Page 2 of 6 PagelD #:571

4

5. This Court grants final approval of the Agreement, including but not limited to the
releases in the Agreement, and finds that it is in all respects fair, reasonable, and in the best
interest of the Settlement Class. No objections were filed. Therefore, all members of the
Settlement Class who have not opted out (i.e., Pal-Con, Ltd. and Agis, LLC: Dk¢. Nos. 96-97) are
bound by this Order Finally Approving the Settlement and the Settlement Agreement.

4. The previously certified class (the “Settlement Class”) is now finally certified
pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3):

All persons and entities with fax numbers who, on or after
December 31, 2007, through and including August 11, 2010, were
sent faxes by Gaddis, Inc. promoting the commercial availability
or quality of its property, goods or services or who were not
provided an “opt out” notice as described in 47 U.S.C. § 227.

5. The Court finds that certification solely for purposes of settlement is appropriate
in that (a) the class is so numerous that joinder of all members is impracticable; (b) there are
questions of law and fact common to the class that predominate over any questions affecting
only individual class members; (c) Plaintiffs claims are typical of the claims of the class: (d)
Plaintiff will fairly and adequately protect the interests of the class; (e) Edelman, Combs,
Lattumer & Goodwin, LLC is adequate class counsel; and (f) a class action is the superior
method for the fair and efficient adjudication of this controversy.

6. Bearing Brokers, Inc. is designated as representative of the Settlement Class.

T Daniel A. Edelman and Heather Kolbus of Edelman, Combs, Latturner and

Goodwin, LLC are appointed as Settlement Class Counsel.
Case: 1:10-cv-05500 Document #: 104 Filed: 02/21/12 Page 3 of 6 PagelD #:572

8. The certification of the Settlement Class is non-precedential and without prejudice
to Defendant’s rights if the Settlement Agreement and this Order Finally Approving the
Settlement do not become effective as provided in the Settlement Agreement.

Class Notice

9. The Class Notice (as described in the Agreement) fully complies with the
requirements of Federal Rule of Civil Procedure 23(c)(2)(B) and due process, constitutes the best
notice practicable under the circumstances, and is due and sufficient notice to all persons entitled
to notice of the settlement of the Action. The Court has approved the forms of notice to the
Settlement Class.

10. With respect to the Settlement Class, this Court finds that certification is
appropriate under Federal Rule of Civil Procedure 23(a) and (b)(3). Notice was given by
facsimile to each Settlement Class Member whose identity could be identified through
reasonable effort. Settlement Class Counsel also posted the Agreement and Notice on their
firm’s website, www.edcombs.com. These forms of Class Notice fully comply with the
requirements of Rule 23(c)(2)(B) and due process, constitute the best notice practicable under the
circumstances, and are due and sufficient notice to all persons entitled to notice of the settlement
of this lawsuit. A total of 380 valid and timely claim forms were submitted from 365 unique
addresses

Objections and Opt-Outs
ili No objections were filed by Class Members.
12. A total of 2 entities have validly requested exclusion from the Settlement Class.

The entities that have validly opted out of the settlement are: Pal-Con, Ltd. and Agis, LLC.
Case: 1:10-cv-05500 Document #: 104 Filed: 02/21/12 Page 4 of 6 PagelD #:573

Class Compensation

13. In accordance with the terms of the Agreement, Defendant shall cause the
Underwriters to Lloyd’s Syndicate 1200 to pay the Settlement Amount set forth in paragraph 3
of the Agreement pursuant to the procedures set forth in paragraphs 9 and 10 of the Agreement.

Releases

14. Upon the payments described in paragraphs 9 and 10 of the Agreement, Plaintiff
and each Settlement Class Member shall be deemed to have granted the releases set forth in
paragraph 11 of the Agreement.

Award of Attorneys’ Fees, Costs, and Incentive Award

15. | The Court has considered Settlement Class Counsel’s application for attorneys’
fees. The Court awards $86,250, and finds this amount of fees is fair and reasonable. Settlement
Class Counsel is also awarded reasonable costs incurred in providing notice to the Class and in
administering the Settlement Fund These costs have been sufficiently supported. These amounts
shall be paid from the Settlement Fund.

16. The Court grants Settlement Class Counsel’s request for an incentive award to the
class representative and awards $4,500 to Bearing Brokers, Inc. The Court finds that this
payment is justified by the class representative’s service to the Settlement Class. This payment
shall be made from the Settlement Amount.

Other Provisions

17. The Parties to the Agreement shall carry out their respective obligations
thereunder.

18. Neither the Agreement, this Order Finally Approving the Settlement, nor any of

their provisions, nor any of the documents (including but not limited to drafts of the Settlement
Case: 1:10-cv-05500 Document #: 104 Filed: 02/21/12 Page 5 of 6 PagelD #:574

Agreement, the Preliminary Approval Order or the Order Finally Approving the Settlement),
negotiations, or proceedings relating in any way to the settlement, shall be construed as or
deemed to be evidence of an admission or concession of any kind by any person, including
Defendant, and shall not be offered or received in evidence in this or any other action or
proceeding except in an action brought to enforce the terms of the Agreement or except as may
be required by law or court order.

19. The Court directs the Defendant to cause Underwriters for Lloyd’s Syndicate
1200 to deliver the Settlement Fund to Settlement Class Counsel within 14 days of the date this
order is entered. Within 10 days after receipt of the Settlement Fund, Plaintiff shall present an
order dismissing the lawsuit with prejudice and without costs.

20. The Court orders Settlement Class Counsel to hold the Settlement Fund in the
firm’s escrow account until the Effective Date of the Settlement Agreement and then deliver the
Settlement Fund to the Administrator, less attorney’s fees and costs approved by the Court,
within three business days of the Effective Date. If the order of Final Approval is withdrawn or
vacated by this Court or reversed on appeal, Settlement Class Counsel shall return the Settlement
Fund to Underwriters to Lloyd’s Syndicate 1200 within three business days.

21. The parties designate the following as cy pres recipients: Domestic Violence
Legal Clinic and Chicago Volunteer Legal Services. Settlement Class Counsel or their
Administrator shall provide and distribute checks payable to these charities.

2A, Settlement Class Counsel or their Administrator shall file an affidavit of final
accounting of the settlement by August 13, 2012.

23. Strategic Claims Services at 600 N. Jackson St., Suite 3, Media, PA 19063 will be

the Class Administrator.
Case: 1:10-cv-05500 Document #: 104 Filed: 02/21/12 Page 6 of 6 PagelD #:575

24. Settlement Counsel shall send out W-9 forms to certain Settlement Class

Members within 14 days of entry of this Order.

 

Dated: if a OL F- Harle M. Mawring.

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Judge ‘ Gd |
